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UNITED STATES BANKRUPTCY COURT
DISTRICT OF CONNECTICUT

HARTFORD DIVISION
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"BOUCHARD, ROGER $ 1018 JUN 12 At 50
7 § (CHAPTER 7) |
§ CLERK, U.S. BANKRUPTCY COURT
AISTRICT OF CONNECTICUT
§ HARTFORD
Debtor(s). §
§

 

REPORT OF SMALL/UNCLAIMED DIVIDENDS

The undersigned trustee reports:

The dividend(s) payable to the creditor(s) listed in Exhibit A hereto is (are) in an amount
less than that Specified in Bankruptcy Rule 3010.

xX More than ninety (90) days have passed since the final distribution. I have made a
reasonable effort to locate those creditors who did not cash their checks within 90 days or whose
checks were returned undeliverable. The dividend(s) payable to the creditor(s) listed in Exhibit A
hereto remain unclaimed.

Pursuant to Bankruptcy Rule 3010 or 3011, as applicable, and 11 U.S.C. 347(a), the undersigned trustee

remits herewith a check in the total amount shown on Exhibit A for deposit into the United States Treasury, pursuant
to chapter 129 of title 28.

DATED: June 9, 2018

 

 

onnie C- gan, Trustee
Westview Office Park, 1050 Sullivan Avenbe, Ste A3
South Windsor, CT 06074
(860) 644-4204

 
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Case Name: BOUCHARD, ROGER
Case Number: 15-21275

Creditor
Name and Address

Santander Consumer USA, Inc.
1010 Mockingbird Lane
Dallas, TX 75247

Santander Consumer USA, Inc.
1010 Mockingbird Lane
Dallas, TX 75247

EXHIBIT A
Claim Distrib. Small
Number Amount Dividend
1 $14,215.00
Interest $ 75.68

on
Claim 1

Page 2 of 2

Unclaimed
Dividend

$14,215.00

75.68

 
